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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

WELCH ALLYN, INC.,                                   )
                                                     )
                        Plaintiff,                   )
                                                     )     C.A. No. 24-224-MN
                v.                                   )
                                                     )     JURY TRIAL DEMANDED
IRHYTHM TECHNOLOGIES, INC.,                          )
                                                     )
                        Defendant.                   )

                                FIRST AMENDED COMPLAINT

          Plaintiff, Welch Allyn, Inc. (“Welch Allyn”) files this first amended complaint against

Defendant iRhythm Technologies, Inc. (“iRhythm”), seeking damages and other relief for patent

infringement, alleging as follows:

                                        Nature of the Action

          1.     This is a civil action arising under the patent laws of the United States, 35 U.S.C. §

1 et seq., including specifically 35 U.S.C. § 271, seeking relief arising out of iRhythm’s

infringement of U.S. Patent Nos. 8,214,007 (the “’007 Patent”); 8,965,492 (the “’492 Patent”);

9,155,484 (the “’484 Patent”); and 10,159,422 (the “’422 Patent”) (collectively, the “Patents-in-

Suit”).

          2.     Welch Allyn is the owner by assignment of the Patents-in-Suit.

                                             The Parties

          3.     Welch Allyn is a corporation organized and existing under the laws of the State of

New York, with its principal place of business at 4341 State Street Road, Skaneateles Falls, New

York, 13153.

          4.     For over a century, Welch Allyn has been designing and manufacturing medical

diagnostic equipment. Ever since 1915 when Welch Allyn made and sold the world’s first
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handheld, direct-illuminating ophthalmoscope—developed by Dr. Francis Welch and William

Noah Allyn—innovation has been at the core of Welch Allyn’s business. Welch Allyn assists

healthcare providers (and ultimately, patients) in overcoming complex challenges to providing

services by engineering products and solutions that enable healthcare providers to see more

patients, perform more procedures, and provide better onsite care.

       5.      Upon information and belief, iRhythm is a corporation organized and existing

under the laws of the State of Delaware since September 14, 2006.

       6.      Upon information and belief, iRhythm has its headquarters and principal place of

business at 699 8th Street, Suite 600, San Francisco, California, 94103.

       7.      According to iRhythm’s website, iRhythm is a “digital healthcare company that

creates trusted solutions that detect, predict, and prevent disease. Combining wearable biosensors

and cloud-based data analytics with powerful proprietary algorithms that distill data from millions

of heartbeats into clinically actionable information.”

       8.      According to iRhythm’s 2022 Form 10-K, iRhythm “offer[s] remote cardiac

monitoring technology and also function[s] as [a] diagnostic service provider[].”

       9.      iRhythm and Welch Allyn are and have been competitors in the cardiac or ECG

monitoring field.

                                     Jurisdiction and Venue

       10.     This action arises under the patent laws of the United States, 35 U.S.C. § 1, et seq.

This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331 and 1338(a).

       11.     Upon information and belief, as a corporation organized and existing under the laws

of the State of Delaware, iRhythm has substantial and continuous contacts with Delaware and has

committed acts of infringement in Delaware sufficient to confer personal jurisdiction over

iRhythm.


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       12.     Upon information and belief, iRhythm is a commercial entity that makes, uses,

advertises, offers for sale, and/or sells heart monitors, including but not limited to

electrocardiogram (ECG) monitors and ECG monitoring services. iRhythm currently

manufactures, makes, uses, advertises, offers for sale, and/or sells certain ECG monitoring

products, including at least: (1) the Zio AT Monitor; (2) the Zio XT Monitor; and (3) Next-

Generation Zio Monitor (the “Zio Monitor”) (collectively, “ECG monitoring products” or

“Accused Products”).

       13.     Upon information and belief, iRhythm makes its Zio line of ECG monitors

available to healthcare providers in Delaware.

       14.     Venue properly lies in this Court under 28 U.S.C. §§ 1391 and 1400(b) because

iRhythm, as a Delaware-registered corporation, resides in Delaware.

                                          Background

       15.     In 1915, Dr. Francis Welch and William Allyn founded Welch Allyn in New York

and developed the world’s first handheld, direct-illuminating ophthalmoscope. Dr. Welch received

U.S. Patent No. 1,166,287, directed to this ophthalmoscope, on December 18, 1915.




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         16.     The company later branched out into making various patient monitoring and

diagnostic equipment. Welch Allyn continued its commitment to developing patient diagnostic

solutions throughout the twentieth century. In the early 2000s, Welch Allyn acquired Protocol

Systems, Inc., the developer of the Micropaq monitor, a revolutionary patient monitoring device.

         17.     The Micropaq monitor was a portable or wireless patient monitor for use by

clinicians for single or multiparameter vital sign monitoring of ambulatory and nonambulatory

pediatric and adult patients in health care facilities. See Ex. 1 at 1:28‒32.1 The Micropaq monitor’s

capabilities included measuring and reporting ECG waveforms, pulse oximetry (SpO2), heart rate,

and pulse rate data. The Micropaq monitor only worked as a telemetry monitoring system, and it

had limited ability to operate standalone, particularly during connectivity disruptions.

         18.     While Welch Allyn’s Micropaq monitor and other ambulatory ECG monitors such

as the Holter monitor were revolutionary in that they allowed patients to enjoy at least some



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     The specifications of the Patents-in-Suit are nearly identical. For simplicity, the ’007 Patent
     specification will be cited as exemplary herein.



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mobility, they had some disadvantages. Namely, these early ambulatory ECG monitors used

multiple sensors or electrodes that had to be situated at precise locations on the patient’s body to

ensure accurate readings, and the sensors were connected to the portable unit by wires or leads.

       19.     In 2015, Welch Allyn was acquired by Hill-Rom Holdings, Inc. (“Hill-Rom”), a

leading global medical technology company.

       20.     In 2017, Hill-Rom strengthened its focus on diagnostic cardiology and patient

monitoring through its acquisition of Mortara Instrument, Inc. (“Mortara”), a leader in the field.

       21.     In 2019, Welch Allyn was awarded a 5-year $100M contract to supply patient

monitoring systems, accessories, and training to the Army, Navy, Air Force, Marine Corps, and

federal civilian agencies. This contract arrived on the heels of a previous 10-year contract in which

Welch Allyn also supplied patient monitoring systems to the Armed Forces.

       22.     More recently, in 2021, Hill-Rom acquired Bardy Diagnostics, Inc. (“Bardy”),

which was “a leading provider of ambulatory cardiac monitoring technologies.” This latest

acquisition brings together the innovative research and development teams of Mortara and Bardy

with Welch Allyn.

       23.     Today, Welch Allyn continues to be a leading global manufacturer of physical

examination instruments and accessories and EMR-connected vital sign and cardiac monitoring

solutions. For example, through its Bardy division, Welch Allyn manufactures, markets, and sells

the Bardy CAM Patch, a leading remote cardiac monitoring solution.

                                          Patents-In-Suit

       24.     Early ambulatory monitors, such as the Micropaq and Holter monitors had several

disadvantages. For example, the multiple wires are easily tangled and can cause discomfort or

become unplugged when inadvertently pulled. Ex. 1 at 1:45‒46. In addition, it is well-established

that wire motion can increase ECG noise due to the triboelectric effect, which can negatively affect


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the data. Id. at 1:47‒48. Muscle movement can also increase ECG noise, due to the typical

placement of ECG electrodes over major muscles, also negatively affecting the data collected. Id.

at 1:48‒50.

       25.     Unrelated to the electrodes and leads, other disadvantages of these early ambulatory

ECG monitors included limitations of the batteries, which required routine recharging and/or

replacement that was time consuming and costly. Id. at 1:50‒52. Additionally, there is a need for

these ambulatory ECG monitors to survive multiple defibrillation cycles of at least 360 joules. Id.

at 1:53–55. Conventionally, this requirement has been met by one or more power resistors situated

in series with the wire leads, but the physical volume of conventional power resistors was too large

for use in a compact monitor application. Id. at 1:53‒59.

       26.     Another disadvantage was the significant amount of power required to transmit

large amounts of data, such as the full patient waveform that is required for a complete clinical

analysis. Id. at 1:66‒2:3. This power requirement restricts the design from being small and

inexpensive. Id. Moreover, these early ambulatory ECG monitors were not well suited to be used

in conjunction with an automated arrhythmia analysis because it was a computational intensive

operation.

       27.     Welch Allyn’s research and development teams understood these challenges and

developed a new, body-worn ambulatory ECG monitor that combined a physiological sensor and

a monitor in one. Id. at 2:8‒10. This monitor was a single unit that could be directly and non-

permanently affixed to a patient’s chest. Id. at 2:10‒11. This body-worn monitor also included a

physically compact resistive element that was capable of protecting the device from multiple

damaging defibrillation cycles. Id. at 2:11‒14. Additionally, the body-worn monitor itself was able




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to perform arrhythmia analysis and intelligently measure and transmit data only as required to alert

clinicians of certain events. Id. at 2:14‒19.

       28.     Beginning on November 1, 2006, Welch Allyn inventors sought patent protection

for these important innovations across a family of patents. This new and innovative body-worn

ambulatory ECG monitor allowed physicians and healthcare providers to more effectively and

efficiently monitor their patients remotely for longer periods. Not only did the patented inventions

improve the quality and amount of data collected, but it also significantly reduced the cost of

monitoring patients over long periods of time remotely as opposed to having the patient remain in

a clinical setting during the monitoring period.

       29.     In addition, these patented inventions allowed for reporting of serious cardiac

events, such as atrial fibrillation (“AFib”). AFib is an irregular heartbeat, or arrhythmia. It is a

serious condition that can lead to blood clots, stroke, heart failure, and other heart-related

complications. According to the American Heart Association, over 12 million people are projected

to have AFib by 2030.

       30.     On July 3, 2012, the ’007 Patent was duly and legally issued for an invention

entitled, “Body worn physiological sensor device having a disposable electrode module.” A true

and correct copy of the ’007 Patent is attached hereto as Exhibit 1. The ’007 Patent is assigned to

Welch Allyn.

       31.     On February 24, 2015, the ’492 Patent was duly and legally issued for an invention

entitled, “Body worn physiological sensor device having a disposable electrode module.” A true

and correct copy of the ’492 Patent is attached hereto as Exhibit 2. The ’492 Patent is assigned to

Welch Allyn.




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        32.    On October 13, 2015, the ’484 Patent was duly and legally issued for an invention

entitled, “Body worn physiological sensor device having a disposable electrode module.” A true

and correct copy of the ’484 Patent is attached hereto as Exhibit 3. The ’484 Patent is assigned to

Welch Allyn.

        33.    On December 25, 2018, the ’422 Patent was duly and legally issued for an invention

entitled, “Body worn physiological sensor device having a disposable electrode module.” A true

and correct copy of the ’422 Patent is attached hereto as Exhibit 4. The ’422 Patent is assigned to

Welch Allyn.

                      Ambulatory Cardiac Monitoring Devices Market

        34.    The ambulatory cardiac monitoring devices market can be segmented into Holter

monitors, ECG devices, event monitors, mobile cardiac telemetry, and implantable loop recorders.

Ex. 5 at 1.




Id.

        35.    ECG devices accounted for the largest market share of 38.9% in 2022, and the

demand for ECG devices is expected to continue to grow due to the increasing incidences of

cardiovascular disease and hypertension worldwide, coupled with the ease of access, continuous

monitoring, and high accuracy capabilities of the devices. Id. at 2. According to a study conducted



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by the World Health Organization, 17.9 million people die every year due to cardiovascular

diseases, which accounts for 32% of the total deaths globally. Id.

                                             iRhythm

         36.    Upon information and belief, iRhythm was founded by Uday Kumar in 2006 and

currently iRhythm makes, uses, advertises, offers for sale, and/or sells the following ECG

monitoring products: (1) the Zio AT Monitor; (2) the Zio XT Monitor; and (3) the Zio Monitor.

See Ex. 6.

         37.    According to iRhythm’s website, iRhythm’s technology “combin[es] wearable

biosensors and cloud-based data analytics with powerful proprietary algorithms, [and] distills data

from millions of heartbeats into clinically actionable information.”

                                   iRhythm’s Zio AT Monitor

         38.    The Zio AT Monitor is a single-patient-use ECG monitor that provides a

continuous, single-channel recording for up to 14 days. Ex. 7 at 2. The Zio AT Monitor itself,

which includes an adhesive covering, is applied and adheres to the left side of the patient’s chest,

over the heart. Id. at 7, 12.




Ex. 6.




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Ex. 7 at 7, 12.

        39.       Once the Zio AT Monitor is applied and activated, the monitor records the electrical

impulses of the heart using two electrodes. The wireless transfer of data is enabled by the Zio AT

Gateway. Id. at 2. The data is processed and analyzed for arrhythmia events, which are reported

throughout the wear period. Ex. 8 at 20; see also Ex. 9 at § 3.1 (“Zio AT Gateway, The Gateway

device transfers cardiac monitoring data to/from a Bluetooth radio to/from a LTE Cat M1 radio,

powered by a single LiPo battery for up to 14 days.”). At the conclusion of the wear period (up to

14 days), the patient removes the Zio AT Monitor and returns it, along with the Gateway, by mail

to an iRhythm data processing center. Ex. 7 at 2. Upon receipt, the ECG data is further processed

and a report is generated. See id.




Id. at 7.



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         40.   Upon information and belief, iRhythm’s Zio AT Monitor was approved by the FDA

under Section 510(k) of the Federal Food, Drug and Cosmetic Act on June 2, 2017. See Ex. 10.

Upon information and belief, the Zio AT Monitor was originally called the Zio QX Monitor, but

iRhythm rebranded the Zio QX Monitor as the Zio AT Monitor. Compare Ex. 10, with Ex. 8 at

20.

                                   iRhythm’s Zio XT Monitor

         41.   The Zio XT Monitor is single-use ECG monitor that can record up to 14 days of

ECG data. Ex. 11 at 2. The Zio XT Monitor includes an adhesive covering, which is applied and

adheres to the left side of the patient’s chest. Id.; see also Ex. 12. The Zio XT Monitor records the

electrical impulses of the heart using two electrodes, with the ECG recordings stored internally

within the device. Ex. 11 at 2. At the conclusion of the wear period (up to 14 days), the patient

removes the Zio XT Monitor and returns it by mail to an iRhythm data processing center. Id. Upon

receipt the ECG data is further processed and a report is generated. Id.




Ex. 6.

         42.   Upon information and belief, iRhythm’s Zio XT Monitor was approved by the FDA

under Section 510(k) of the Federal Food, Drug and Cosmetic Act on July 18, 2012. See Ex. 13.

Upon information and belief, the Zio XT Monitor was originally called the Zio Patch, but iRhythm

rebranded the Zio Patch as the Zio XT Monitor. Compare Ex. 13, with Ex. 14 at 5.



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                           iRhythm’s Next-Generation Zio Monitor

         43.   The Zio Monitor (also referred to as the “Next-Generation Zio Monitor”) is similar

to the Zio XT and AT Monitors but has an improved form factor, “which is 23% thinner, 62%

lighter, and 72% smaller.” Ex. 15 at 2; see also Ex. 16. iRhythm’s Chief Technology Officer

explained “miniaturization was focused on very clever ways of handling some of the larger

components, which for example involved moving some of the big resistors that are required on the

device to the more flexible part of the patch instead of on the actual printed circuit board in the

housing.” Ex. 15 at 3.




Ex. 6.

         44.   Upon information and belief, the FDA approved iRhythm’s Zio Monitor under

Section 510(k) of the Federal Food, Drug and Cosmetic Act on May 21, 2021, as an updated

version of the Zio XT Monitor. See Ex. 14.

         45.   Upon information and belief, iRhythm makes the Accused Products available to

patients directly or through healthcare providers. Ex. 17 at 2.




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Id. at 2–3.

        46.   Upon information and belief, iRhythm manufactures the Accused Products in the

U.S.

                      iRhythm’s Knowledge of Welch Allyn’s Patents-In-Suit

        47.   iRhythm states, in its 2017 Annual Report, and in every subsequent annual report,

that in providing its Zio Services, iRhythm competes with, among others, Welch Allyn Inc.

        48.   Upon information and belief, iRhythm monitors products and patent filings of its

competitors, including Welch Allyn.

        49.   The ’007 Patent issued on July 3, 2012, and published as U.S. Patent Publication

No. 2008/0139953 (“the Baker ’953 Publication”) on June 12, 2008. Ex. 18.

        50.   iRhythm has been aware of the Baker ’953 Publication since at least as early as

October 2, 2012.

        51.   iRhythm filed U.S. Patent Application No. 13/106,750 (“the ’750 Application”) on

May 12, 2011. iRhythm founder Uday Kumar is listed as one of the inventors of the ’750

Application, which issued to iRhythm as U.S. Patent No. 8,538,503 on September 17, 2013. Ex.

19.




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       52.     During prosecution of iRhythm’s ’750 Application, the United States Patent &

Trademark Office (“USPTO”) issued an Office action on October 2, 2012, rejecting all the pending

claims in the ’750 Application. Ex. 20. Specifically, pending Claims 1-6, 20, 22, 26-29, 31-33 and

38-41 were rejected under 35 U.S.C. § 102(b) as being anticipated by the Baker ’953 Publication.

The relevant excerpt from the October 2, 2012, office action is set forth below.




Ex. 20 at 5.

       53.     On October 29, 2012, the applicants filed a response to the October 2, 2012, Office

action. Ex. 21. In this response, the applicants amended the claims and made affirmative statements

about the disclosures of the Baker ’953 Publication in arguing for allowance of the pending claims.

See generally id. The relevant excerpt from the October 29, 2012, response is set forth below.




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Ex. 21 at 13.

       54.      Notwithstanding the amended claims and applicants’ arguments to the contrary, the

USPTO issued a final Office action rejecting the pending claims in iRhythm’s ’750 Application

on December 28, 2012. Ex. 22. Specifically, pending Claims 1-6, 11, 20, 22-29, 31-33 and 38-41

were rejected under 35 U.S.C. § 103 being unpatentable over the Baker ’953 Publication alone, or

over the Baker ’953 Publication in combination with another prior art reference. Ex. 22 at 6–7.




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       55.     On May 28, 2013, the applicants responded to the final Office action rejecting the

pending claims in the ’750 Application. Ex. 23. Again, the applicant specifically addressed the

rejected claims based on the Baker ’953 Publication and made affirmative statements regarding

the “teachings or suggestions” of the Baker ’953 Publication. Ex. 23 at 13.

       56.     Ultimately, the applicants overcame the multiple rejections based on the Baker ’953

Publication, and the ’750 Application issued to iRhythm on September 17, 2013, as U.S. Patent

No. 8,538,503 (“the ’503 Patent”). Ex. 19. The Baker ’953 Publication, which had issued as U.S.

Patent No. 8,214,007, on July 3, 2012, is listed on the face of iRhythm’s ’503 Patent under

“References Cited.” Ex. 19 at 2; see, e.g., Ex. 24.

       57.     At some point, iRhythm became aware of the fact that the Baker ’953 Publication

resulted in the issuance of the ’007 Patent because iRhythm submitted Information Disclosure

Statements during prosecution of many of its U.S. patents listing the ’007 Patent and the Baker

’953 Publication. See, e.g., Ex. 25 at 2; Ex. 24.

       58.     iRhythm’s website (Patents & Trademarks | iRhythm (irhythmtech.com)) provides

a virtual patent marking webpage that lists thirty-six issued U.S. iRhythm patents. Ex. 24. All

thirty-six patents, including several design patents, listed on iRhythm’s virtual patent marking

webpage list under the “References Cited” section either the Welch Allyn ’007 Patent or the Baker

’953 Publication. Over thirty iRhythm issued U.S. patents list both the Baker ’953 Publication and

the Welch Allyn ’007 Patent under the “References Cited” section. In every instance where the

’007 Patent is listed on the face of an issued U.S. iRhythm patent on iRhythm’s virtual patent

marking webpage, iRhythm has listed the ’007 Patent in an Information Disclosure Statement

during prosecution of such patent. Id.




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        59.     iRhythm has had knowledge of, or in the alternative, has remained willfully blind

of Welch Allyn’s ’007 Patent since at least October 6, 2015, when iRhythm submitted an

Information Disclosure Statement during prosecution of iRhythm’s U.S. Patent No. 9,173,670,

listing the ’007 Patent. See, e.g., Ex. 25 at 2; Ex. 24.

        60.     iRhythm has had knowledge, or in the alternative, has remained willfully blind of

Welch Allyn’s ’492 Patent since at least October 6, 2015, when iRhythm submitted an Information

Disclosure Statement during prosecution of iRhythm’s U.S. Patent No. 9,173,670, listing at least

one family member of the ’492 Patent. See, e.g., Ex. 25 at 2 (listing the ’007 Patent); Ex. 24.

        61.     iRhythm has had knowledge, or in the alternative, has remained willfully blind of

Welch Allyn’s ’484 Patent since at least October 6, 2015, when iRhythm submitted an Information

Disclosure Statement during prosecution of iRhythm’s U.S. Patent No. 9,173,670, listing at least

one family member of the ’484 Patent. See, e.g., Ex. 25 at 2 (listing the ’007 Patent); Ex. 24.

        62.     iRhythm has had knowledge, or in the alternative, has remained willfully blind of

Welch Allyn’s ’422 Patent since at least October 6, 2015, when iRhythm submitted an Information

Disclosure Statement during prosecution of iRhythm’s U.S. Patent No. 9,173,670, listing at least

one family member of the ’422 Patent. See, e.g., Ex. 25 at 2 (listing the ’007 Patent); Ex. 24.

                                              COUNT I

                        Patent Infringement of U.S. Patent No. 8,214,007

        63.     Welch Allyn realleges and incorporates by reference the allegations in paragraphs

1–62 of this First Amended Complaint.

        64.     iRhythm makes, uses, sells, and/or offers for sale the Zio Monitor in the United

States. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,

as set forth in the attached non-limiting Claim Chart (Ex. 26), iRhythm directly infringes at least

claim 45 of the ’007 Patent, either literally or under the doctrine of equivalents.


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          65.   iRhythm has engaged in the foregoing conduct with respect to the patented

invention in the United States without authority from Welch Allyn and during the term of the ’007

Patent.

          66.   Thus, iRhythm is liable to Welch Allyn in an amount that compensates it for such

infringement, which by law cannot be less than a reasonable royalty, together with interest and

costs as fixed by this Court under 35 U.S.C. § 284.

          67.   As previously described, iRhythm’s infringement has been done with full and

express knowledge of the ’007 Patent and is therefore deliberate, willful and wanton, as iRhythm

has cited the ’007 Patent on the face of several of its issued patents. See, e.g., Ex. 25 at 2; Ex. 24.

                                             COUNT II

                        Patent Infringement of U.S. Patent No. 8,965,492

          68.   Welch Allyn realleges and incorporates by reference the allegations in paragraphs

1–67 of this First Amended Complaint.

          69.   iRhythm makes, uses, sells, and/or offers for sale certain Zio ECG monitoring

products, including at least the Zio AT Monitor, Zio XT Monitor, and Zio Monitor. See Ex. 6. Any

of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and, as set forth

in the attached non-limiting Claim Charts (Exs. 27–29), iRhythm directly infringes at least claim

1 of the ’492 Patent, either literally or under the doctrine of equivalents.

          70.   iRhythm has engaged in the foregoing conduct with respect to the patented

inventions in the United States without authority from Welch Allyn and during the term of the

’492 Patent.

          71.   Thus, iRhythm is liable to Welch Allyn in an amount that compensates it for such

infringement, which by law cannot be less than a reasonable royalty, together with interest and

costs as fixed by this Court under 35 U.S.C. § 284.


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       72.     As previously described, iRhythm’s infringement has been deliberate, willful and

wanton, and with full knowledge, or in the alternative, willful blindness of the ’492 Patent, as

iRhythm has cited at least one family member of the ’492 Patent on the face of several of its issued

patents. See, e.g., Ex. 25 at 2 (citing the ’007 Patent); Ex. 24.

                                             COUNT III

                        Patent Infringement of U.S. Patent No. 9,155,484

       73.     Welch Allyn realleges and incorporates by reference the allegations in paragraphs

1–72 of this First Amended Complaint.

       74.     iRhythm makes, uses, sells, and/or offers for sale certain Zio ECG monitoring

products including, but not limited to the Zio AT Monitor, Zio XT Monitor, and Zio Monitor. See

Ex. 6. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,

as set forth in the attached non-limiting Claim Charts (Exs. 30–32), iRhythm directly infringes at

least claim 1 of the ’484 Patent, either literally or under the doctrine of equivalents.

       75.     iRhythm has engaged in the foregoing conduct with respect to the patented

inventions in the United States without authority from Welch Allyn and during the term of the

’484 Patent.

       76.     Thus, iRhythm is liable to Welch Allyn in an amount that compensates it for such

infringement, which by law cannot be less than a reasonable royalty, together with interest and

costs as fixed by this Court under 35 U.S.C. § 284.

       77.     As previously described, iRhythm’s infringement has been deliberate, willful and

wanton, and with full knowledge, or in the alternative, willful blindness of the ’484 Patent, as

iRhythm has cited at least one family member of the ’484 Patent on the face of several of its issued

patents. See, e.g., Ex. 25 at 2 (citing the ’007 Patent); Ex. 24.




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                                             COUNT IV

                       Patent Infringement of U.S. Patent No. 10,159,422

          78.   Welch Allyn realleges and incorporates by reference the allegations in paragraphs

1–77 of this First Amended Complaint.

          79.   The claim arises under the Patent Laws of the United States, 35 U.S.C. § 1 et seq.

and 35 U.S.C. § 271.

          80.   iRhythm makes, uses, sells, and/or offers for sale certain Zio ECG monitoring

products including but not limited to the Zio AT Monitor, Zio XT Monitor, and Zio Monitor. See

Ex. 6. Any of these individual activities is an act of infringement under 35 U.S.C. § 271(a), and,

as set forth in the attached non-limiting Claim Charts (Exs. 33–35), iRhythm directly infringes at

least claim 1 of the ’422 Patent, either literally or under the doctrine of equivalents.

          81.   iRhythm actively infringes at least claim 1 of the ’422 Patent by manufacturing

certain Zio ECG monitoring products. See Ex. 6.

          82.   iRhythm has engaged in the foregoing conduct with respect to the patented

invention in the United States without authority from Welch Allyn and during the term of the ’422

Patent.

          83.   Thus, iRhythm is liable to Welch Allyn in an amount that compensates it for such

infringement, which by law cannot be less than a reasonable royalty, together with interest and

costs as fixed by this Court under 35 U.S.C. § 284.

          84.   As previously described, iRhythm’s infringement has been deliberate, willful and

wanton, and with full knowledge, or in the alternative, willful blindness of the ’422 Patent, as

iRhythm has cited at least one family member of the ’422 Patent on the face of several of its issued

patents. See, e.g., Ex. 25 at 2 (citing the ’007 Patent); Ex. 24.




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                                   RELIEF REQUESTED

       WHEREFORE, Welch Allyn requests that the Court enter a judgment in its favor and

against iRhythm and provide Welch Allyn the following relief:

       A.     Order, adjudge, and decree that iRhythm has infringed the Patents-in-Suit;

       B.     Order, adjudge, and decree that iRhythm willfully infringed the Patents-in-Suit;

       C.     Order, adjudge, and decree that iRhythm’s infringement of the Patents-in-Suit is

              exceptional under 35 U.S.C. § 285;

       D.     Award Welch Allyn damages for patent infringement including prejudgment

              interest and costs against iRhythm under 35 U.S.C. §§ 284 and 289;

       E.     Award Welch Allyn up to three times its damages to compensate Welch Allyn

              under 35 U.S.C. § 284;

       F.     Award Welch Allyn its reasonable attorneys’ fees under 35 U.S.C. § 285; and

       G.     Award such other and further relief as the Court may deem just including but not

              limited to an accounting for acts of infringement made but not otherwise awarded

              to Welch Allyn.




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                                    JURY DEMAND

      Welch Allyn demands trial by jury.

                                                Respectfully submitted,

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